Case 0:15-cv-61131-KMM Document 1 Entered on FLSD Docket 05/29/2015 Page 1 of 4



                                   U.S. DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO:

 MYRNA TAIARIOL,

        Plaintiff,

 vs.

 MSC CRUISES (USA) INC., a foreign corporation, and
 MSC CROCIERE, S.A., a foreign corporation,

        Defendants.
                                          /

             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

        Plaintiff, MYRNA TAIARIOL, (hereinafter “Plaintiff”), by and through

 undersigned counsel, hereby sues the Defendants, MSC CRUISES (USA) INC. and MSC

 CROCIERE, S.A. and alleges as follows:

        1.      This is an action for damages that exceeds this Court’s minimum

 jurisdictional requirements, to wit, $75,000.00, exclusive of all interest and costs.

        2.      This Court has jurisdiction over this matter pursuant to 28 USC §1333 (1) and

 28 USC §1332 (a)(1).

        3.      Venue in the United States District Court for Southern District of Florida is

 appropriate pursuant to the forum selection clause contained in the passenger ticket between

 Plaintiff and Defendant.

        4.      At all times material, Plaintiff, MYRNA TAIARIOL, was and is a resident of

 and is domiciled in the State of California, now living in Lafayette, California, and at all

 times material was a passenger on board defendant’s vessel, the Divina.
Case 0:15-cv-61131-KMM Document 1 Entered on FLSD Docket 05/29/2015 Page 2 of 4
                                 Taiariol vs. MSC Cruises (USA) Inc. and MSC Crociere, S.A.
                                                                     Complaint for Damages
                                                                                     Page 2


        5.      Upon information and belief, at all times material, Defendants, MSC

 CRUISES (USA), INC. and MSC CROCIERE S.A., (hereinafter “Defendants or MSC”)

 personally or through an agent:

             A. Operated, conducted, engaged and/or carried on a business venture in
                the State of Florida, and in particular Broward County, Florida;

             B. Was engaged in substantial business activity in the State of Florida,
                and in particular, in Broward County, Florida;

             C. Operated vessels and provided vessels for cruises in the waters of this
                state;

             D. Committed one or more acts as set forth in F.S. §48,081, 48.181 and
                48.193, which submit the defendant to the jurisdiction and venue of
                this Court. Further, the defendant is subject to the jurisdiction of this
                Honorable Court due to the foregoing and 28 U.S.C. §1333;

             E. The acts of defendant set out in the Complaint occurred in whole or in
                part in Broward County and/or the State of Florida.

        6.      All conditions precedent to the institution of this action have been satisfied or

 otherwise excused, including the pre-suit notice required by the terms and conditions of

 Defendants’ cruise ticket. (See notice letter attached as Exhibit “A” and the ticket is no

 longer in Plaintiff’s possession).

                                      COUNT I - NEGLIGENCE

        7.      On or about May 29, 2014, the Defendants owned and operated a passenger

 cruise ship known as the Divina.

        8.      At such time and place, the Plaintiff, MYRNA TAIARIOL, was lawfully and

 legally aboard such vessel as an invitee and paying passenger with the actual and/or

 constructive consent of Defendants to be physically present aboard such vessel.
Case 0:15-cv-61131-KMM Document 1 Entered on FLSD Docket 05/29/2015 Page 3 of 4
                                 Taiariol vs. MSC Cruises (USA) Inc. and MSC Crociere, S.A.
                                                                     Complaint for Damages
                                                                                     Page 3


        9.       On May 29, 2014, while on board the Divina, which was operating in

 navigable waters, the Plaintiff, MYRNA TAIARIOL, was seriously injured when she

 slipped and/or tripped and fell on steps when exiting the Pantheon Theater, which are

 undifferentiated and without handrails, markings, warnings or sufficient lights to distinguish

 height changes and otherwise visually deceptive. The Plaintiff, MYRNA TAIARIOL, was

 seriously injured suffering a trimalleolar right ankle fracture requiring surgery and hardware

 to repair.

        10.          At all times material, Defendants owed a duty to exercise ordinary and

 reasonable care under the circumstances for the benefit of Plaintiff, MYRNA TAIARIOL,

 and other passengers.

        11.       Defendants breached their duty owed to Plaintiff by committing one or more

 of the following acts and/or omissions:

              A. Failing to provide a safe means of ingress and egress to the Pantheon
                 Theater for use by Plaintiff;

              B. Failing to provide safe pathways, walkways and stairways in the
                 Pantheon Theater;

              C. Failing to inspect the pathways, walkways and stairways in the
                 Pantheon Theater to learn of the existence of dangerous and slippery
                 conditions and to warn Plaintiff of this dangerous, slippery and unsafe
                 condition which in the exercise of reasonable care, the Defendant
                 either knew of or should reasonably have known;

              D. Failing to adequately equip the vessel, and specifically its walkways
                 and stairways with appropriate and safe lights, railings and markings
                 to exit and enter the Pantheon Theater;

              E. Failing to comply with its own internal policies and procedures
                 established by the ISM Code, SMS, SQM and other internal
                 operational procedures required by the ISM Code, SOLAS, all
                 applicable health, building and safety codes and ordinances in
Case 0:15-cv-61131-KMM Document 1 Entered on FLSD Docket 05/29/2015 Page 4 of 4
                                 Taiariol vs. MSC Cruises (USA) Inc. and MSC Crociere, S.A.
                                                                     Complaint for Damages
                                                                                     Page 4


                accordance with 33 CFR 96.100 et. seq., 46 USC Section 3201 et. seq.
                and all Rules and Regulations, including, but not limited to all relevant
                NVIC’s of the United States Coast Guard and those designed to
                regulate safe walkways and stairways in public places.

        12.     As a direct and proximate result of Defendants’ negligence Plaintiff, MYRNA

 TAIARIOL, suffered bodily injuries and resulting pain and suffering, physical and mental

 pain and anguish, disability, loss of capacity for the enjoyment of life, expense of

 hospitalization and surgery, loss of earnings, loss of the ability to earn money and expenses

 for physical therapy, and medical and nursing expenses. Said losses are either permanent or

 continuing in nature and Plaintiff will suffer these losses in the future.

        WHEREFORE, Plaintiff, MYRNA TAIARIOL, demands judgment, interest and

 costs against Defendants, MSC CRUISES (USA) INC. and MSC CROCIERE, S.A., a

 trial by jury and any such other relief to which the Plaintiff may be justly entitled.

        Dated: May 29, 2015

                                              HOLZBERG LEGAL
                                              Offices at Pinecrest II, Suite 220
                                              7685 S.W. 104th Street
                                              Miami, Florida 33156
                                              Telephone: (305) 668-6410
                                              Facsimile: (305) 667-6161


                                              BY:     /s/ Glenn J. Holzberg______
                                                      GLENN J. HOLZBERG
                                                      Fla. Bar # 369551
